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                                                     U.S. Department of Justice

                                                     Civil Division
Torts Branch, Federal Tort Claims Office             Telephone (202) 616-4400
P.O. Box 888                                         Facsimile (202) 616-5200
Washington, DC 20044
JGT:JGTouhey/DJ# XXX-XX-XXXX




                                                     July 11, 2023



By ECF

Hon. Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

         RE: Carroll v. Trump, No. 1:20-cv-7311-LAK


Dear Judge Kaplan:
       Attached please find a letter to the parties conveying the Department of Justice’s
determination not to certify under the Westfall Act.
                                                 Sincerely,
                                                 BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney General
                                                                                Digitally signed by JAMES
                                            By: JAMES         TOUHEY TOUHEY
                                                                     Date: 2023.07.11 15:45:51 -04'00'

                                                 JAMES G. TOUHEY, JR.
                                                 Director, Torts Branch



cc: Counsel of Record (by ECF)
Attachment
